             Case 4:21-mj-72012-MAG Document 2 Filed 12/21/21 Page 1 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   TOM COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 BENJAMIN K. KLEINMAN (NYBN 5358189)
   Special Assistant United States Attorney
 5
          1301 Clay Street, Suite 340S
 6        Oakland, California 94612
          Telephone: (510) 637-3680
 7        FAX: (510) 637-3724
          benjamin.kleinman2@usdoj.gov
 8

 9 Attorneys for United States of America

10                                UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                          OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                   ) CASE NO. CR 4:21-mj-72012 MAG
                                                 )
14         Plaintiff,                            )
                                                   PETITION FOR WRIT OF HABEAS CORPUS
                   v.                            ) AD PROSEQUENDUM
15
                                                 )
16   JOVAN ZACHARY,                              )
                                                 )
17         Defendant.                            )
                                                 )
18
19 //

20 //
   //
21
   //
22

23

24

25

26

27

28

     PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 4:21-mj-72012 MAG
               Case 4:21-mj-72012-MAG Document 2 Filed 12/21/21 Page 2 of 4




 1 TO:      THE HONORABLE DONNA M. RYU, UNITED STATES MAGISTRATE JUDGE FOR THE

 2          NORTHERN DISTRICT OF CALIFORNIA

 3

 4          Special Assistant United States Attorney BENJAMIN K. KLEINMAN respectfully requests that

 5 the Court issue a Writ of Habeas Corpus Ad Prosequendum for the person of prisoner JOVAN

 6 ZACHARY, whose place of custody or jailor are set forth in the requested Writ, attached hereto.

 7          The prisoner, JOVAN ZACHARY, is required to appear as a defendant in the above-entitled

 8 matter in this Court on the date identified in the writ and for all future hearings, and therefore petitioner

 9 prays that the Court issue the Writ as presented.

10

11

12 Dated: December 21, 2021                                       Respectfully Submitted,

13                                                                STEPHANIE M. HINDS
                                                                  Acting United States Attorney
14

15                                                                /s/ Benjamin K. Kleinman
                                                                  BENJAMIN K. KLEINMAN
16                                                                Special Assistant United States Attorney

17

18
19

20

21

22

23

24

25

26

27

28

     PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 4:21-mj-72012 MAG
               Case 4:21-mj-72012-MAG Document 2 Filed 12/21/21 Page 3 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   TOM COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 BENJAMIN K. KLEINMAN (NYBN 5358189)
   Special Assistant United States Attorney
 5
          1301 Clay Street, Suite 340S
 6        Oakland, California 94612
          Telephone: (510) 637-3680
 7        FAX: (510) 637-3724
          Benjamin.kleinman2@usdoj.gov
 8

 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                             OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                         )   CASE NO. 4:21-mj-72012 MAG
                                                       )
14          Plaintiff,                                 )
                                                           [PROPOSED] ORDER GRANTING PETITION
                    v.                                 )   FOR WRIT OF HABEAS CORPUS AD
15
                                                       )   PROSEQUENDUM
16   JOVAN ZACHARY,                                    )
                                                       )
17          Defendant.                                 )
                                                       )
18                                                     )
19
            Upon motion of the United States of America, and good cause appearing therefore,
20
     IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas
21
     Corpus Ad Prosequendum requiring the production of defendant JOVAN ZACHARY, before this Court
22
     on the date stated in the Writ submitted, or as soon thereafter as practicable, and requiring that the
23
     defendant be present for all future hearings, is granted and the Writ shall be issued as presented.
24

25
     DATED: ___________________                                    __________________________________
26                                                                 Hon. DONNA M. RYU
27                                                                 United States Magistrate Judge

28

     [PROPOSED] ORDER
     CASE NO. 4:21-mj-72012 MAG
              Case 4:21-mj-72012-MAG Document 2 Filed 12/21/21 Page 4 of 4




 1                         WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 2

 3 TO:      DONALD M. O’KEEFE, UNITED STATES MARSHAL FOR THE NORTHERN DISTRICT

 4          OF CALIFORNIA, GREGORY J. AHERN, ALAMEDA COUNTY SHERIFF, AND HIS

 5          AUTHORIZED DEPUTIES AND ALAMEDA COUNTY SANTA RITA JAIL, 5325 BRODER

 6          BLVD, DUBLIN, CA 94568:

 7

 8          Pursuant to the foregoing petition and order, consistent with the Court’s General Order 72-6 and

 9 74, you are directed to produce the body of JOVAN ZACHARY, who is in the custody of Alameda

10 County Santa Rita Jail, 5325 Broder Blvd, Dublin, CA 94568, before the Honorable DONNA M. RYU,

11 United States Magistrate Judge for the Northern District of California via Zoom proceedings on

12 Tuesday, December 28, 2021, at 1:00 p.m., or as soon thereafter as practicable, on the charges filed

13 against defendant in the above-entitled Court and further to produce said defendant at all future hearings

14 as necessary until the termination of the proceedings in this Court.

15          Should the current custodian release JOVAN ZACHARY from its custody, you are directed that

16 the defendant immediately be delivered and remanded to the U.S. Marshals for the Northern District of

17 California and/or his authorized deputies under this Writ.

18
19

20 DATED: ______________________                         CLERK, UNITED STATES DISTRICT COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA
21

22
                                                 By:     __________________________________
23                                                       DEPUTY CLERK

24

25

26

27

28

     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 4:21-mj-72012 MAG
